              Case 21-50964-bem                   Doc 1     Filed 02/03/21 Entered 02/03/21 16:14:50                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                YC Atlanta Hotel LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1418 Virginia Ave.                                              5851 S. Virginia Street
                                  College Park, GA 30337                                          Reno, NV 89502
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fulton                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    YC Atlanta Hotel LLC                                                                          Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                     Relationship
                                                  District                                 When                              Case number, if known


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Debtor   YC Atlanta Hotel LLC                                                                      Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    YC Atlanta Hotel LLC                                                                     Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      February 3, 2021
                                                  MM / DD / YYYY


                             X   /s/ Baldev Johal                                                         Baldev Johal
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Managing Member and Authorized Party




18. Signature of attorney    X   /s/ David L. Bury, Jr.                                                    Date February 3, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David L. Bury, Jr. 133066
                                 Printed name

                                 Stone & Baxter, LLP
                                 Firm name

                                 577 Mulberry Street, Suite 800
                                 Macon, GA 31201
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     478-750-9898                  Email address      dbury@stoneandbaxter.com

                                 133066 GA
                                 Bar number and State




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            Case 21-50964-bem                         Doc 1          Filed 02/03/21 Entered 02/03/21 16:14:50                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         YC Atlanta Hotel LLC

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          February 3, 2021                        X /s/ Baldev Johal
                                                                       Signature of individual signing on behalf of debtor

                                                                       Baldev Johal
                                                                       Printed name

                                                                       Managing Member and Authorized Party
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:
 Debtor name YC Atlanta Hotel LLC
 United States Bankruptcy Court for the: NORTHERN DISTRICT OF                                                                                         Check if this is an
                                                GEORGIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Access Point                                                    1419 Virginia Ave                             $11,911,380.41                    Unknown                   Unknown
 Financial, LLC                                                  College Park, GA
 One Ravinia Drive                                               30337
 9th Floor
 Atlanta, GA 30346
 Allbridge                                                       Trade Payable                                                                                            $11,148.92
 6880 Perry Creek
 Road
 Raleigh, NC 27616
 Atlanta Boiler &                                                Trade Payable                                                                                                $632.40
 Mechanical
 3513 Lake City
 Industrial Court
 Acworth, GA 30101
 Atlanta Office                                                  Trade Payable                                                                                                  $42.38
 Technologies, Inc.
 5600 Oakbrook
 Parkway Suite 260
 Norcross, GA 30093
 Cedric S. Bell                                                  Employee Wages                                                                                            Unknown
 46 Edwin Place
 Atlanta, GA 30318
 Choice Hotels                                                   Franchise Fees                                                                                           $86,144.13
 International, Inc.
 6811 East Mayo
 Blvd
 Suite 100
 Phoenix, AZ 85054
 City of College Park                                            Property Tax                                                                                           $131,906.96
 P.O. Box 87137
 College Park, GA
 30337
 Comcast Business                                                Trade Payable                                                                                                $569.78
 P.O. Box 71211
 Charlotte, NC
 28272-1211



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    YC Atlanta Hotel LLC                                                                               Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Daniel Melchor                                                  Employee Wages                                                                                            Unknown
 2854 Bonny Brook
 Dr SW
 Atlanta, GA 30311
 Deborah E. Blalock                                              Employee Wages                                                                                            Unknown
 3651 S La Brea Ave
 Los Angeles, CA
 90016
 Doris E. Smith                                                  Employee Wages                                                                                            Unknown
 5060 Deer Brook
 Trail
 Austell, GA 30106
 Ecolab Inc.                                                     Trade Payable                                                                                              $5,984.78
 P.O. Box 32027
 New York, NY 10087
 Ecolab Pest Elim.                                               Trade Payable                                                                                                $414.05
 Div.
 26252 Network
 Place
 Chicago, IL
 60673-1262
 Fire Protection                                                 Trade Payable                                                                                              $1,479.30
 Services, LLC
 2030 Powers Ferry
 Road, #100
 Atlanta, GA 30339
 Gabriella L. Maston                                             Employee Wages                                                                                            Unknown
 2447 Baxter Road
 Atlanta, GA 30315
 Georgia Department                                              Taxes                                                                                                     Unknown
 of Labor
 Employer Accounts
 Section
 148 Andrew Young
 Intl. Blvd. Suite 850
 Atlanta, GA 30303
 Guest Supply                                                    Trade Payable                                                                                              $1,230.99
 P.O. Box 6771
 Somerset, NJ 08875
 HD Supply Facilities                                            Trade Payable                                                                                                $861.82
 Maitenance, Ltd.
 P.O. Box 509058
 San Diego, CA
 92150
 Transwest Capital,                                              Payroll Provider                                                                                           $6,766.58
 Inc.
 Dept 3381
 P.O. Box 123381
 Dallas, TX 75312
 Wilson Pool Service                                             Trade Payable                                                                                                $390.00
 P.O. Box 712
 Fairburn, GA 30213


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      YC Atlanta Hotel LLC                                                                                      Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 YC Fernley Hotel LLC                                                                 100%                                       Membership
 5851 S. Virginia Street
 Reno, NV 89502


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Managing Member and Authorized Party of the corporation named as the debtor in this case, declare under
penalty of perjury that I have read the foregoing List of Equity Security Holders and that it is true and correct to the best
of my information and belief.



 Date February 3, 2021                                                       Signature /s/ Baldev Johal
                                                                                            Baldev Johal

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                                                      Northern District of Georgia
 In re      YC Atlanta Hotel LLC                                                                          Case No.
                                                                                    Debtor(s)             Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Managing Member and Authorized Party of the corporation named as the debtor in this case, hereby verify that the attached list

of creditors is true and correct to the best of my knowledge.




 Date:       February 3, 2021                                            /s/ Baldev Johal
                                                                         Baldev Johal/Managing Member and Authorized Party
                                                                         Signer/Title




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                        Access Point Financial, LLC
                        One Ravinia Drive
                        9th Floor
                        Atlanta, GA 30346



                        Allbridge
                        6880 Perry Creek Road
                        Raleigh, NC 27616



                        Allbridge
                        P.O. Box 638671
                        Cincinnati, OH 45263



                        Atlanta Boiler & Mechanical
                        3513 Lake City Industrial Court
                        Acworth, GA 30101



                        Atlanta Office Technologies, Inc.
                        5600 Oakbrook Parkway Suite 260
                        Norcross, GA 30093



                        Balbir Gosal
                        5851 S. Virginia Street
                        Reno, NV 89502



                        Baldev Johal
                        5851 S. Virginia Street
                        Reno, NV 89502



                        Bulk TV & Internet
                        P.O. Box 99129
                        Raleigh, NC 27624



                        Cedric S. Bell
                        46 Edwin Place
                        Atlanta, GA 30318
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                    Choice Hotels International, Inc.
                    6811 East Mayo Blvd
                    Suite 100
                    Phoenix, AZ 85054



                    City of College Park
                    P.O. Box 87137
                    College Park, GA 30337



                    Comcast Business
                    P.O. Box 71211
                    Charlotte, NC 28272-1211



                    Daniel Melchor
                    2854 Bonny Brook Dr SW
                    Atlanta, GA 30311



                    Deborah E. Blalock
                    3651 S La Brea Ave
                    Los Angeles, CA 90016



                    Doris E. Smith
                    5060 Deer Brook Trail
                    Austell, GA 30106



                    Ecolab Inc.
                    P.O. Box 32027
                    New York, NY 10087



                    Ecolab Pest Elim. Div.
                    26252 Network Place
                    Chicago, IL 60673-1262



                    Fire Protection Services, LLC
                    2030 Powers Ferry Road, #100
                    Atlanta, GA 30339
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                    Gabriella L. Maston
                    2447 Baxter Road
                    Atlanta, GA 30315



                    Georgia Department of Labor
                    Employer Accounts Section
                    148 Andrew Young Intl. Blvd. Suite 850
                    Atlanta, GA 30303



                    Georgia Department of Revenue
                    Compliance Division-ARCS Bankruptcy
                    1800 Century Blvd NE Suite 9100
                    Atlanta, GA 30345



                    Gerod A. Mackenzie
                    4430 Kimball Rd
                    Atlanta, GA 30331



                    Guest Supply
                    P.O. Box 6771
                    Somerset, NJ 08875



                    HD Supply Facilities Maitenance, Ltd.
                    P.O. Box 509058
                    San Diego, CA 92150



                    Internal Revenue Service
                    Centralized Insolvency Operations
                    PO Box 7346
                    Philadelphia, PA 19101-7346



                    Ionie S. Tatum
                    6428 Church St #51
                    Riverdale, GA 30274



                    Itavis Tatum
                    6428 Church St #51
                    Riverdale, GA 30274
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                    Jason A. Weir
                    1005 Augusta Drive
                    Marietta, GA 30067



                    Jonita J. Suggs
                    1302 Southlake Cove Ct
                    Jonesboro, GA 30236



                    Jose Flores
                    3393 Old Jonesboro Road
                    Atlanta, GA 30354



                    Julio Cisneros
                    3144 Harris Drive
                    East Point, GA 30334



                    Juwann T. Johnson
                    5470 Riverside Road Apt N8
                    Atlanta, GA 30349



                    La Fiesta Restaurant
                    1419 Virginia Ave
                    College Park, GA 30337



                    Latecia N. Latimore
                    4430 Kimball Rd
                    Atlanta, GA 30331



                    Latonya S. Ogletree
                    2909 Cambellton Rd SW Apt 35-F
                    Atlanta, GA 30311



                    Lechelle L. Masters
                    401 Brunswick Square Apt A
                    Jonesboro, GA 30236
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                    Luis Sanchez
                    6605 Chesepeake Trail
                    Rex, GA 30273



                    Maureen and Tyler Eckert
                    1625 Yukon Ct
                    Atlanta, GA 30349



                    Michelle Y. Harris
                    3354 Haschel Road
                    Atlanta, GA 30337



                    Missy D. Sexton
                    2367 Cascade Rd E-18
                    Atlanta, GA 30311



                    Ondina Veloz
                    5002 Barrington Village Way
                    Union City, GA 30291



                    Ranjit Johal
                    5851 S. Virginia Street
                    Reno, NV 89502



                    Robert W. Graham
                    2250 Ellison Lakes Dr Apt 823
                    Kennesaw, GA 30152



                    Rufus C. Anderson
                    5408 Pinevalley Drive
                    Union City, GA 30291



                    Sedric D. Maston
                    2798 Peek Road #724
                    Atlanta, GA 30318
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                    Small Business Administation
                    233 Peachtree St, NE
                    Suite 1900
                    Atlanta, GA 30303



                    Sydell Clark
                    585 McWilliams Road SE Unit 2004
                    Atlanta, GA 30315



                    Transwest Capital, Inc.
                    Dept 3381
                    P.O. Box 123381
                    Dallas, TX 75312



                    Wilson Pool Service
                    P.O. Box 712
                    Fairburn, GA 30213



                    Winston P. Barnett
                    850 Mt. Zion Road Apt FF16
                    Jonesboro, GA 30236



                    YC Fernley Hotel LLC
                    5851 S. Virginia Street
                    Reno, NV 89502



                    Yolanda M. Pippins
                    46 Edwin Place
                    Atlanta, GA 30318
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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re      YC Atlanta Hotel LLC                                                                           Case No.
                                                                                    Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for YC Atlanta Hotel LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:
 YC Fernley Hotel LLC
 5851 S. Virginia Street
 Reno, NV 89502




    None [Check if applicable]




 February 3, 2021                                                      /s/ David L. Bury, Jr.
 Date                                                                  David L. Bury, Jr. 133066
                                                                       Signature of Attorney or Litigant
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